                                      Case 18-15539              Doc 6         Filed 04/25/18           Page 1 of 2

Information to identify the case:
Debtor 1                 Celestine Clark                                                        Social Security number or ITIN    xxx−xx−6483

                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        District of Maryland
                                                                                                Date case filed for chapter 13 4/25/18
Case number:          18−15539 DER      Chapter: 13



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/17

For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your rights in this case. Visit
http://www.mdb.uscourts.gov and click on Filing Without An Attorney for additional resources and information.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
 1. Debtor's full name                        Celestine Clark

 2. All other names used in the
    last 8 years
                                              5800 Key Avenue
 3. Address                                   Baltimore, MD 21215
                                              Jeffrey M. Sirody                                             Contact phone 410−415−0445
                                              Jeffrey M. Sirody and Associates, P.A.                        Email: smeyers5@hotmail.com
 4. Debtor's  attorney
    Name and address
                                              1777 Reisterstown Road
                                              Suite 360 E
                                              Baltimore, MD 21208

 5. Bankruptcy trustee                        Nancy Spencer Grigsby                                         Contact phone (301) 805−4700
     Name and address                         185 Admiral Cochrane Dr.                                      Email: None
                                              Suite 240
                                              Annapolis, MD 21401

 6. Bankruptcy clerk's office                 Baltimore Division                                            Visit http://www.mdb.uscourts.gov for court
     Documents in this case may be filed      101 West Lombard Street, Ste. 8530                            hours
     at this address.                         Baltimore, MD 21201                                           Contact phone (410) 962−2688
     You may inspect all records filed in                                                                   Date: 4/26/18
     this case at this office or online at    Clerk of the Bankruptcy Court:
      www.pacer.gov.                          Mark A. Neal
                                                                                                               For more information, see page 2 >

Official Form 309I                                     Notice of Chapter 13 Bankruptcy Case                                               page 1
                                    Case 18-15539                Doc 6         Filed 04/25/18              Page 2 of 2
Debtor Celestine Clark                                                                                                                   Case number 18−15539
7. Meeting of creditors
    Debtors must attend the meeting to     June 7, 2018 at 10:00 AM                                          Location:
    be questioned under oath. In a joint                                                                     101 W. Lombard Street, Garmatz Courthouse,
    case, both spouses must attend.                                                                          2nd Fl., #2650, Baltimore, MD 21201
    Creditors may attend, but are not      The meeting may be continued or adjourned to a
    required to do so.                     later date. If so, the date will be on the court
                                           docket.
8. Deadlines                               Deadline to file a complaint to challenge                                Filing deadline: 8/6/18
    The bankruptcy clerk's office must     dischargeability of certain debts:
    receive these documents and any         You must file:
    required filing fee by the following   • a motion if you assert that the debtors are not entitled to
    deadlines.                                receive a discharge under U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular debt excepted
                                              from discharge under 11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                      Filing deadline: 7/5/18
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                       Filing deadline: 10/22/18
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A Proof of Claim may be filed electronically
                                           from the court's web site at http://www.mdb.uscourts.gov/content/electronic−filing−claims. A proof of claim form
                                           may be obtained at www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                           a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.


                                           Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                           may file an objection.
                                           Deadline to object to plan:
                                           Creditor's objections to the plan must be filed and copies served on the Chapter 13 Trustee, the debtor, and the
                                           debtor's attorney no later than 7 days before the date set for hearing on confirmation of the plan.
                                           Deadline to file certain pleadings:
                                           Debtor's motions to value collateral, motions to avoid liens, and all other motions which may impact the debtor's
                                           plan, should be filed by 6/7/18

9. Filing of plan                          The debtor has not filed a plan as of this date. A copy of the plan will be sent to you
                                           under separate cover by the debtor.
                                           If the chapter 13 trustee recommends confirmation, and no timely objections to confirmation
                                           are filed, then the court may confirm the plan, and there will be no confirmation hearing.
                                           Timely filed objections to confirmation of the plan and motions to convert or dismiss, will be
                                           taken up at the Plan Confirmation Hearing. The Plan Confirmation Hearing will be held:
                                           Date: 7/10/18 Time: 10:00 AM Location: 101 W. Lombard Street, Courtroom 9−D,
                                           Baltimore, MD 21201
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                           the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                           distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                           exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                           the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                           If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion by the deadline.
14. Debtor electronic                      The U.S. Bankruptcy Court for the District of Maryland offers debtors the ability to receive court notices and
    bankruptcy noticing                    orders via email, instead of U.S. mail, through the Debtor Electronic Bankruptcy Noticingor DeBN program. To
                                           participate in this program, debtors must complete and file a DeBN request form with the Court. For additional
                                           information, please go to Programs & Services of http://www.mdb.uscourts.gov.

Official Form 309I                                   Notice of Chapter 13 Bankruptcy Case                                                                 page 2
